             Case 3:13-cv-02476-JSC Document 3 Filed 05/30/13 Page 1 of 2



 1

 2

 3

 4

 5

 6

 7

 8                                      UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   LYDIA VAUGHN,                                         No. 2:13-cv-0988 KJM CKD PS
12                         Plaintiff,
13             v.                                          ORDER
14   DEPARTMENT OF VETERANS
     AFFAIRS, et al.,
15
                           Defendants.
16

17

18             Plaintiff is proceeding in this action pro se. The federal venue statute requires that a civil

19   action, other than one based on diversity jurisdiction, be brought only in “(1) a judicial district

20   where any defendant resides, if all defendants reside in the same State, (2) a judicial district in

21   which a substantial part of the events or omissions giving rise to the claim occurred, or a

22   substantial part of property that is the subject of the action is situated, or (3) a judicial district in

23   which any defendant may be found, if there is no district in which the action may otherwise be

24   brought.” 28 U.S.C. § 1391(b).

25             In this case, it appears that a substantial part of the events giving rise to plaintiff’s claims

26   occurred in Palo Alto, California. Therefore, plaintiff’s claim should have been filed in the

27   United States District Court for the Northern District of California. In the interest of justice, a

28   /////
                                                           1
          Case 3:13-cv-02476-JSC Document 3 Filed 05/30/13 Page 2 of 2



 1   federal court may transfer a complaint filed in the wrong district to the correct district. See 28

 2   U.S.C. § 1406(a); Starnes v. McGuire, 512 F.2d 918, 932 (D.C. Cir. 1974).

 3             Accordingly, IT IS HEREBY ORDERED that this matter is transferred to the United

 4   States District Court for the Northern District of California.

 5   Dated: May 29, 2013
                                                       _____________________________________
 6
                                                       CAROLYN K. DELANEY
 7                                                     UNITED STATES MAGISTRATE JUDGE

 8

 9   4 vaugh988.tra

10

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                                       2
